Case 3:23-cv-10244-TKW-ZCB Document 1-5 Filed 01/17/23 Page 1 of 16




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                        EXHIBIT E
Case 3:23-cv-10244-TKW-ZCB Document 1-5 Filed 01/17/23 Page 2 of 16




               TDC SPECIALTY
               UNDERWRITERS
                    The Doctors Company Gro up
                         1
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               Follow Form Excess Policy


             Baptist Health Care Corporation
                     HPX-00016-17-00
                04/15/2017 - 04/15/2018
        Case 3:23-cv-10244-TKW-ZCB Document 1-5 Filed 01/17/23 Page 3 of 16




U.S. TREASURY DEPARTMENT’S OFFICE OF FOREIGN ASSETS CONTROL
                          (“OFAC”)
              ADVISORY NOTICE TO POLICYHOLDERS



No coverage is provided by this Notice nor can it be construed to replace any provisions of your
policy. You should read your policy and review your Declarations for complete information on
the coverages you are provided.

This Notice provides information concerning possible impact on your insurance coverage due to
directives issued by OFAC. Please read this Notice carefully.

The Office of Foreign Assets Control (OFAC) administers and enforces sanctions policy based
on Presidential declarations of “national emergency.” OFAC has identified and listed
numerous:

    •   Foreign agents;
    •   Front organizations;
    •   Terrorists;
    •   Terrorist organizations; and
    •   Narcotics traffickers;

as “Specially Designated Nationals and Blocked Persons.” This list can be located on the
United States Treasury’s web site – https://www.treasury.gov/ofac

In accordance with OFAC regulations, if it is determined that you or any other insured, or any
person or entity claiming the benefits of this insurance has violated U.S. sanctions law or is a
Specially Designated National and Blocked Person, as identified by OFAC, this insurance will
be considered a blocked or frozen contract and all provisions of this insurance are immediately
subject to OFAC. When an insurance policy is considered to be such a blocked or frozen
contract, no payments nor premium refunds may be made without authorization from OFAC.
Other limitations on the premiums and payments also apply.




NOTICEOFAC-12-16                                                                        Page 1 of 1
           Case 3:23-cv-10244-TKW-ZCB Document 1-5 Filed 01/17/23 Page 4 of 16


                                                            Underwritten by TDC Specialty Insurance Company
 ~           DC SPECIALTY                                                            1050 K Street, Suite 400
                                                                                       Washington, DC 20001
            U~~    ~~~s~~!!:~roup                                            Servicing Address: 29 Mill Street
                                                                                        Unionville, CT 06085


                                            DECLARATIONS

                                 FOLLOW FORM EXCESS POLICY

PORTIONS OF THIS POLICY APPLY ONLY TO CLAIMS FIRST MADE AGAINST THE INSURED
AND REPORTED TO US DURING THE POLICY PERIOD. DEFENSE COSTS ARE PART OF AND
NOT IN ADDITION TO THE LIMITS OF LIABILITY. PLEASE READ THIS POLICY CAREFULLY.

  Policy Number: HPX-00016-17-00
 ITEM 1. INSURED                                           ITEM 2.    POLICY PERIOD:
           Name and Principal Address:
                                                           (a) Inception Date    04/15/2017
             Baptist Health Care Corporation               (b) Expiration Date 04/15/2018
             1000 West Moreno Street                        Both dates at 12:01 a.m. at the Principal
             Pensacola, FL 32522                            Address in ITEM 1

 ITEM 3.    LIMITS OF LIABILITY

  (A) Each claim Limit of Liability            $10,000,000
  (B) Policy Aggregate Limit of Liability      $10,000,000
 ITEM 4.    UNDERLYING INSURANCE

  See Endorsement No. 1 – Schedule of Underlying Insurance

 ITEM 5.    PREMIUM: $47,500

       __ Gross Premium:        We will pay a percentage of the Premium shown above as
                                brokerage commission. Consult your broker for information
                                concerning commission.
        X Net Premium:          The premium shown above is net, and we will pay no brokerage
                                commission of any kind thereon.
 ITEM 6.    ALL NOTICES REQUIRED TO BE GIVEN TO US UNDER SECTION V. REPORTING OF
            CLAIMS AND CIRCUMSTANCES OF THIS POLICY MUST BE ADDRESSED TO:

            Mari Spina
            TDC Specialty Underwriters, Inc.
            NoticeOfLoss@TDCSpecialty.com

             ALL OTHER NOTICES REQUIRED TO BE GIVEN TO US UNDER THIS POLICY MUST BE
             ADDRESSED TO:

            TDC Specialty Underwriters, Inc.
            29 Mill Street, Suite 1.6
            Unionville, CT 06085




HXD-000001-10-16                             Page 1 of 2
           Case 3:23-cv-10244-TKW-ZCB Document 1-5 Filed 01/17/23 Page 5 of 16



 ITEM 7.    POLICY FORM AND ENDORSEMENTS ATTACHED AT ISSUANCE:

            HXF-000001-08-16
            HXE-000010-09-16
            HXE-000006-08-16
            HXE-000012-09-16
            HXE-000021-01-17




These Declarations, the completed signed Application, and the Policy (together with any and all
endorsements thereto) shall constitute the entire agreement between us and the insured(s).

 TDC Specialty Insurance Company
 By:




 ______________________________________________             07/12/2017
 Its Authorized Representative                              Date:




HXD-000001-10-16                          Page 2 of 2
         Case 3:23-cv-10244-TKW-ZCB Document 1-5 Filed 01/17/23 Page 6 of 16



                                                           Underwritten by TDC Specialty Insurance Company
             TDC SPECIALTY                                                          1050 K Street, Suite 400
             UNDERWRITERS                                                             Washington, DC 20001
                                                                            Servicing Address: 29 Mill Street
               The Doctors Company Group                                               Unionville, CT 06085


                                 FOLLOW FORM EXCESS POLICY

PORTIONS OF THIS POLICY APPLY ONLY TO CLAIMS FIRST MADE AGAINST THE INSURED
AND REPORTED TO US DURING THE POLICY PERIOD OR, SOLELY IF APPLICABLE, ANY
EXTENSION PERIOD FOR REPORTING CLAIMS. DEFENSE COSTS ARE PART OF AND NOT
IN ADDITION TO THE LIMITS OF LIABILITY. DEFENSE COSTS WILL REDUCE AND MAY
EXHAUST COMPLETELY THE LIMIT OF LIABILITY. PLEASE READ THE ENTIRE POLICY
CAREFULLY.

In consideration of the payment of the premium, and in reliance upon all statements made and
information furnished to us and to any issuer of the underlying insurance, and subject to all of
the terms and conditions of this Policy (including all endorsements attached hereto), we and the
insured agree as follows:

I.     INSURING AGREEMENT

       We will pay on behalf of the insured, up to the applicable Limit of Liability shown in ITEM
       3 of the Declarations, any loss, damages, judgments, settlements, and defense costs in
       excess of the total limits of liability for all applicable underlying insurance which an
       insured is legally obligated to pay as result of a covered claim; provided, that:

       (A)     such underlying insurance also applies and has been exhausted by actual
               payment thereunder, or would apply but for the exhaustion of the total limits of
               liability thereunder;

       (B)     this Policy will apply in conformance with, and will follow the form of, the terms
               and conditions of the primary policy (including all endorsements thereto), and to
               the extent coverage is further limited or restricted by any other underlying
               insurance, of such underlying insurance, except:

               (1)     with respect to any provision to the contrary in this Policy;

               (2)     the applicable limits of liability of such underlying insurance shall be
                       deemed to be reduced or exhausted solely as a result of payments for loss,
                       damages, judgments, settlements, or defense costs that are covered under
                       this Policy;

               (3)     the coverage provided by this Policy shall not be broader than any
                       underlying insurance unless expressly provided in this Policy; and

               (4)     in all events, in the event that this Policy provides insurance excess of
                       professional liability, the coverage afforded hereunder with respect to such
                       professional liability coverage shall be deemed to apply on a claims-made
                       and reported basis, regardless of whether the primary policy provides such
                       coverage on a claims-made or occurrence basis;

       (C)     we will not have any obligation to make any payment hereunder unless and until
               the full amount of the total limits of liability of such underlying insurance has
               been paid by the issuer(s) of such underlying insurance, an insured or by another




HXF-000001-08-16                             Page 1 of 5
        Case 3:23-cv-10244-TKW-ZCB Document 1-5 Filed 01/17/23 Page 7 of 16



               party on behalf, or for the benefit, of the insured or the issuer(s) of such
               underlying insurance; and

       (D)     our obligation to pay loss, damages, judgments, settlements, and defense costs as
               a result of a covered claim after the date of exhaustion of the full amount of the
               total limits of liability of such underlying insurance shall be excess of any
               applicable deductible or retention under the underlying insurance.

II.    DEFINITIONS

       (A)     Claim shall have the meaning ascribed to it (or similar term) in the applicable
               underlying insurance.

       (B)     Insured means any person or entity included within the definition of “Insured” (or
               similar term) in the applicable underlying insurance.

       (C)     Policy period means the period of time from the Inception Date of this Policy
               stated in ITEM 2(a) of the Declarations to the Expiration Date of this Policy stated
               in ITEM 2(b) of the Declarations, or to any earlier cancellation or termination date
               of this Policy.

       (D)     Primary policy means the policy scheduled as such in ITEM 4(A) of the
               Declarations.

       (E)     Underlying insurance means the primary policy and all insurance policies,
               bonds, self-insurance programs, trust agreements, or other risk transfer
               arrangements scheduled in ITEM 4 of the Declarations, and all renewals or
               replacements thereof.

       (F)     We, us and our means the Underwriting Company as set forth in the Declarations.

III.   UNDERLYING INSURANCE

       (A)     As long as this Policy is in effect, all underlying insurance must: (1) continuously
               be kept in full force and effect; (2) provide no less coverage than provided by all of
               the insurance policies, bonds, self-insurance programs, trust agreements, or other
               risk transfer arrangements scheduled in ITEM 4 of the Declarations; (3) provide no
               lower limits of liability than those scheduled in ITEM 4 of the Declarations (except
               to the extent such limits are reduced or exhausted due to the payment of covered
               claims under such underlying insurance); and (4) be available and collectible. If
               the underlying insurance fails to meet any such criteria in (1) through (4) above,
               then we shall not be liable under this Policy earlier or to any greater extent than we
               would have been if such underlying insurance was still in full force and effect,
               contained its original provisions, had the original scheduled limits of liability, and
               was fully available and collectible.

       (B)     No amendment or modification to any underlying insurance shall be binding upon
               us or effective in changing the terms and conditions of, or extending the coverage or
               limits of liability afforded by, this Policy without our express written agreement.
               The insured shall provide us with: (1) prompt notice of any payment of any claim
               under any underlying insurance; (2) any cancellation, termination, or non-renewal
               of any underlying insurance; or (3) any change in or modification of any
               underlying insurance by endorsement or otherwise. This Policy shall
               automatically be rescinded upon the rescission of any underlying insurance.




HXF-000001-08-16                             Page 2 of 5
        Case 3:23-cv-10244-TKW-ZCB Document 1-5 Filed 01/17/23 Page 8 of 16



       (C)     If any underlying insurance (including any endorsement(s) attached thereto)
               contains an insuring agreement or a grant of coverage with a limit of liability of a
               lesser amount than the applicable “Each Claim” limit of liability scheduled in ITEM
               4 of the Declarations, then this Policy will not follow form of, and shall not apply to,
               such insuring agreement or grant of coverage, and no payment made under such
               insuring agreement or grant of coverage shall reduce or exhaust the applicable
               limits of liability of such underlying insurance.

IV.    LIMITS OF LIABILITY AND EXHAUSTION OF LIMITS

       (A)     Each Claim Limit of Liability. The amount stated in ITEM 3(A) of the
               Declarations shall be our maximum Limit of Liability for all loss, damages,
               judgments, settlements and defense costs from each claim for which this Policy
               provides coverage. This Limit of Liability shall be part of, and not in addition to,
               the Policy Aggregate Limit of Liability stated in ITEM 3(B) of the Declarations.

       (B)     Policy Aggregate Limit of Liability. The amount stated in ITEM 3(B) of the
               Declarations shall be our maximum aggregate Limit of Liability for all loss,
               damages, judgments, settlements and defense costs from all claims for which this
               Policy provides coverage.

       (C)     Defense costs are part of, and not in addition to our applicable Limits of Liability,
               and our payment of defense costs will reduce, and may exhaust, this Policy’s
               applicable Limits of Liability.

       (D)     We will have no obligation to pay any loss, damages, judgments, settlements, or
               defense costs after the Policy Aggregate Limit of Liability stated in ITEM 3(B) of the
               Declarations has been exhausted by payments under this Policy. If the Policy
               Aggregate Limit of Liability is exhausted by payments under this Policy, the
               premium will be fully earned, all of our obligations under this Policy will be
               completed fulfilled and exhausted, and we will have no further obligations of any
               type, nature, or kind under this Policy.

V.     REPORTING OF CLAIMS AND CIRCUMSTANCES

       As a condition precedent to any right to coverage under this Policy, the insured must
       comply with the following:

       (A)     the insured must provide us with written notice of any claim as soon as
               practicable, and in any event within the time period set forth by the primary policy
               with respect to notice of claims;

       (B)     the insured must provide us with written notice of any claim, loss, act, error,
               omission, circumstance, or other matter with respect to which notice has been
               provided under any underlying insurance; and

       (C)     if, during the policy period, the insured first becomes aware of any facts or
               circumstances that might subsequently give rise to a claim and the insured
               exercises any right under the underlying insurance to report such facts or
               circumstances, then the insured must also report such facts or circumstances to
               us as soon as practicable but in any event before the Expiration Date or earlier
               cancellation or termination of this Policy. Any covered claim subsequently made
               against the insured arising out of such facts or circumstances (and for which
               written notice is given to us as soon as practicable thereafter) shall be treated as if
               it had been first made and reported to us during the policy period, provided that




HXF-000001-08-16                             Page 3 of 5
       Case 3:23-cv-10244-TKW-ZCB Document 1-5 Filed 01/17/23 Page 9 of 16



               the applicable underlying insurance is also treating such claim as if it had been
               first made and reported during the policy period.

VI.    CANCELLATION AND NON-RENEWAL

       (A)     The insured may cancel this Policy at any time by delivering by hand delivery or
               overnight mail service or by mailing registered, certified, or other first-class mail,
               written notice stating when thereafter, and prior to the Expiration Date of this
               Policy, such cancellation is to be effective.

       (B)     We shall cancel this Policy only in accordance with the terms and conditions of the
               primary policy.

       (C)     If this Policy is cancelled by the insured, we shall refund any unearned premium
               computed at the customary short rate table and procedure. Under all other
               circumstances, any unearned premium shall be computed pro rata.

       (D)     We will not be required to renew this Policy upon its expiration.

VII.   OTHER TERMS AND CONDITIONS

       (A)     With respect to any claim that is reasonably likely to involve the coverage afforded
               by this Policy, the insured shall not settle such claim, or incur any expense, make
               any payment, admit any liability, or assume any obligation with respect to such
               claim, without our prior written consent.

       (B)     We have the right to associate in the defense, investigation, or settlement of any
               claim, even if the limits of liability of the underlying insurance have not been
               exhausted. If we elect to associate in the defense, investigation, or settlement of a
               claim, the insured will cooperate with us and provide us with all information we
               reasonably request.

       (C)     In the event of any payment under this Policy, we shall be subrogated to the extent
               of any payment to all of the insured’s rights of recovery. The insured must do
               everything necessary to secure these rights, including but not limited to executing
               all documents necessary to secure such rights. The insured shall do nothing that
               may prejudice our position or potential or actual rights of recovery. The obligations
               of the insured under this provision shall survive the expiration or termination of
               this Policy.

       (D)     The person or entity first named in ITEM 1 of the Declarations will act on behalf of
               all insureds with respect to: the giving and receiving of any notices and other
               communications under this Policy; the payment of premiums to, and receiving of
               return premiums from, us; and the receiving and acceptance of any endorsements
               issued to form a part of this Policy.

       (E)     The insured represents that the particulars and statements contained in the
               application submitted in connection with this Policy or with any underlying
               insurance are true, accurate and complete, and agree that: (1) this Policy is issued
               and continued in force by us in reliance on the truth of that representation; (2)
               those particulars and statements are the basis of this Policy; and (3) such
               application and those particulars and statements are incorporated into and form a
               part of this Policy.




HXF-000001-08-16                             Page 4 of 5
      Case 3:23-cv-10244-TKW-ZCB Document 1-5 Filed 01/17/23 Page 10 of 16



 In Witness Whereof, we have caused this Policy to be executed by our authorized officers.




HXF-000001-08-16                        Page 5 of 5
          Case 3:23-cv-10244-TKW-ZCB Document 1-5 Filed 01/17/23 Page 11 of 16



                                                             Underwritten by TDC Specialty Insurance Company
              TDC SPECIALTY                                                           1050 K Street, Suite 400
                                                                                        Washington, DC 20001
              UNDERWRITERS                                                    Servicing Address: 29 Mill Street
               The Doctors Company Group                                                 Unionville, CT 06085


                                  ENDORSEMENT NO. 1
                    SCHEDULE OF UNDERLYING INSURANCE ENDORSEMENT

This Endorsement, effective at 12:01 a.m. on 04/15/2017, forms part of

      Policy Number:       HPX-00016-17-00
      Issued to:           Baptist Health Care Corporation
      Issued by:           TDC Specialty Insurance Company

In consideration of the premium charged, ITEM 4 of the Declarations is amended to read in its
entirety as follows:

ITEM 4.     UNDERLYING INSURANCE

(A) Primary Policy:

 Insurer:          Coverage:         Policy            Policy Period:    Limits of           Deductible or
                                     Number:                             Liability:          Retention:
 Tower 1
 SIR               Professional,     Not               04/15/2017 –      Not Applicable      $3,000,000
                   General, &        Applicable        04/15/2018                            Each Claim
                   Employee                                                                  Limit of Liability
                   Benefits                                                                  $9,000,000
                   Liability                                                                 Aggregate Limit
                                                                                             of Liability
                                                                                             (Inclusive of
                                                                                             $1,000,000/
                                                                                             $3,000,000 Per
                                                                                             Physician)
 Buffer SIR        Professional,     Not               04/15/2017 –      Not Applicable      $2,000,000
                   General, &        Applicable        04/15/2018                            Each Claim
                   Employee                                                                  Limit of Liability
                   Benefits                                                                  $2,000,000
                   Liability                                                                 Aggregate Limit
                                                                                             of Liability
 Tower 2
 (Baptist          Professional      MFL-004640-       04/15/2017 –      $1,000,000          $0
 Medical Park):    Liability         0417              04/15/2018        Each Claim
 Homeland                                                                Limit of
 Insurance                                                               Liability
 Company of                                                              $3,000,000
 New York                                                                Aggregate Limit
                                                                         of Liability
 (Baptist          General           MFL-004640-       04/15/2017 –      $1,000,000          $0
 Medical Park):    Liability         0417              04/15/2018        Each Claim
 Homeland                                                                Limit of
 Insurance                                                               Liability
 Company of                                                              $3,000,000
 New York                                                                Aggregate Limit
                                                                         of Liability



HXE-000010-09-16                               Page 1 of 3
        Case 3:23-cv-10244-TKW-ZCB Document 1-5 Filed 01/17/23 Page 12 of 16



 (Andrews          Professional   MFP-00084-      04/15/2017 –   $2,000,000        $0
 Institute):       Liability      17-00           04/15/2018     Each Claim
 TDC Specialty                                                   Limit of
 Insurance                                                       Liability
 Company                                                         $4,000,000
                                                                 Aggregate Limit
                                                                 of Liability
 (Andrews          General        MFP-00084-      04/15/2017 –   $2,000,000        $0
 Institute):       Liability      17-00           04/15/2018     Each Claim
 TDC Specialty                                                   Limit of
 Insurance                                                       Liability
 Company                                                         $4,000,000
                                                                 Aggregate Limit
                                                                 of Liability
 (Andrews          Employee       MFP-00084-      04/15/2017 –   $1,000,000        $0
 Institute):       Benefits       17-00           04/15/2018     Each Claim
 TDC Specialty     Liability                                     Limit of
 Insurance                                                       Liability
 Company                                                         $3,000,000
                                                                 Aggregate Limit
                                                                 of Liability
 (Lakeview):       Professional   HS20152144-     04/15/2017 –   $2,000,000        $0
 Capitol           Liability      03              04/15/2018     Each Claim
 Specialty                                                       Limit of
 Insurance                                                       Liability
 Company
                                                                 $4,000,000
                                                                 Aggregate Limit
                                                                 of Liability
 (Lakeview):       General        HS20152144-     04/15/2017 –   $2,000,000        $0
 Capitol           Liability      03              04/15/2018     Each Claim
 Specialty                                                       Limit of
 Insurance                                                       Liability
 Company
                                                                 $4,000,000
                                                                 Aggregate Limit
                                                                 of Liability
 (Lakeview):       Employee       HS20152144-     04/15/2017 –   $1,000,000        $0
 Capitol           Benefits       03              04/15/2018     Each Claim
 Specialty         Liability                                     Limit of
 Insurance                                                       Liability
 Company
                                                                 $1,000,000
                                                                 Aggregate Limit
                                                                 of Liability
 (Lakeview):       Sexual         HS20152144-     04/15/2017 –   $2,000,000        Not Applicable
 Capitol           Misconduct     03              04/15/2018     Each Employee
 Specialty         Liability                                     $2,000,000
 Insurance                                                       Aggregate
 Company
 (Baptist          Employer’s     SP 4056228      01/01/2017 –   $2,000,000        Not Applicable
 Health            Liability                      01/01/2019     Each Accident
 Corporation):                                                   $2,000,000
 Safety                                                          Policy Limit
 National                                                        $2,000,000
                                                                 Each Employee



HXE-000010-09-16                          Page 2 of 3
        Case 3:23-cv-10244-TKW-ZCB Document 1-5 Filed 01/17/23 Page 13 of 16



 Casualty
 Corporation
 (Langhorne        Employer’s    000341 007        01/01/2017 –     $1,000,000        Not Applicable
 Cardiology):      Liability                       01/01/2018       Each Accident
 Healthcare                                                         $1,000,000
 Workers’                                                           Policy Limit
 Compensation                                                       $1,000,000
 Self-                                                              Each Employee
 Insurance
 Fund
 (Lakeview):       Employer’s    21 WN             04/15/2017 –     $1,000,000        Not Applicable
 Trumbull          Liability     S36500            04/15/2018       Each Accident
 Insurance                                                          $1,000,000
 Company                                                            Each Employee
                                                                    $1,000,000
                                                                    Policy Limit
 (Lakeview):       Automobile    21 CSE            04/15/2017 –     $2,000,000        Not Applicable
 Hartford Fire     Liability     S36501            04/15/2018       Combined
 Insurance                                                          Single Limit
 Company
 (Baptist          Helipad       1000231620-       04/15/2017 –     $10,000,000       Not Applicable
 Health            Liability     01                04/15/2018       Per Occurrence
 Corporation):
 Starr
 Indemnity &
 Liability
 Company
 (Baptist          Hired/Non-    1000231621-       04/15/2017 –     $10,000,000       Not Applicable
 Health            Owned         01                04/15/2018       Per Occurrence
 Corporation):     Aviation
 Starr
 Indemnity &
 Liability
 Company

(B) Underlying Insurance:

 Insurer:          Coverage:     Policy            Policy Period:   Limits of         Deductible or
                                 Number:                            Liability:        Retention:
 Endurance         Excess        HLC1000685        04/15/2017 –     $15,000,000       $50,000
 American          Liability     6902              04/15/2018       Each Claim
 Specialty                                                          Limit of
 Insurance                                                          Liability
 Company
                                                                    $15,000,000
                                                                    Aggregate Limit
                                                                    of Liability




All other terms, conditions and limitations of this Policy shall remain unchanged.




HXE-000010-09-16                           Page 3 of 3
        Case 3:23-cv-10244-TKW-ZCB Document 1-5 Filed 01/17/23 Page 14 of 16



                                                           Underwritten by TDC Specialty Insurance Company
            TDC SPECIALTY                                                           1050 K Street, Suite 400
                                                                                      Washington, DC 20001
            UNDERWRITERS                                                    Servicing Address: 29 Mill Street
               The Doctors Company Group                                               Unionville, CT 06085


                               ENDORSEMENT NO. 2
           CAP ON LOSSES FROM CERTIFIED ACTS OF TERRORISM ENDORSEMENT

This Endorsement, effective at 12:01 a.m. on 04/15/2017, forms part of

      Policy Number:       HPX-00016-17-00
      Issued to:           Baptist Health Care Corporation
      Issued by:           TDC Specialty Insurance Company

In consideration of the premium charged:

(1)    If aggregate insured losses attributable to certified acts of terrorism (as defined below)
       exceed $100 billion in a calendar year and we have met our insurer deductible under the
       Terrorism Risk Insurance Act (“the Act”), we shall not be liable for the payment of any
       portion of such losses that exceeds $100 billion, and in such case insured losses up to
       that amount are subject to pro-rata allocation in accordance with procedures established
       by the Secretary of the Treasury.

(2)    Notwithstanding paragraph (1) above, it is understood and agreed that in the event there is
       no coverage for losses attributable to certified acts of terrorism under any underlying
       insurance due to an exclusion in such underlying insurance, then no coverage is
       available under this Policy for any claim based upon, arising out of, directly or indirectly
       resulting from, in consequence of, or in any way involving any certified act of terrorism.

(3)    For purposes of this endorsement, the following term shall have the meaning set forth
       below and Section II DEFINITIONS of this Policy shall be deemed amended to include such
       term:

              “Certified act of terrorism” means an act that is certified by the Secretary of the
              Treasury, in accordance with the provisions of the Act, to be an act of terrorism
              pursuant to the Act. The criteria contained in the Act for a “certified act of
              terrorism” include the following:

              (a)      the act resulted in insured losses in excess of $5,000,000 in the aggregate,
                       attributable to all types of insurance subject to the Act; and

              (b)      the act is a violent act or an act that is dangerous to human life, property or
                       infrastructure and is committed by an individual or individuals, as part of
                       an effort to coerce the civilian population of the United States or to influence
                       the policy or affect the conduct of the United States Government by
                       coercion.




All other terms, conditions and limitations of this Policy shall remain unchanged.




HXE-000006-08-16                             Page 1 of 1
        Case 3:23-cv-10244-TKW-ZCB Document 1-5 Filed 01/17/23 Page 15 of 16



                                                          Underwritten by TDC Specialty Insurance Company
            TDC SPECIALTY                                                          1050 K Street, Suite 400
                                                                                     Washington, DC 20001
            UNDERWRITERS                                                   Servicing Address: 29 Mill Street
               The Doctors Company Group                                              Unionville, CT 06085


                                       ENDORSEMENT NO. 3
                                  SERVICE OF SUIT ENDORSEMENT

This Endorsement, effective at 12:01 a.m. on 04/15/2017, forms part of

      Policy Number:       HPX-00016-17-00
      Issued to:           Baptist Health Care Corporation
      Issued by:           TDC Specialty Insurance Company

In consideration of the premium charged, pursuant to any statute of any state, territory or district
of the United States which makes provision therefor, we hereby designate the Superintendent,
Commissioner or Director of Insurance or other officer specified for that purpose by statute, as its
true and lawful attorney upon whom may be served any lawful process in any action, suit or
proceeding instituted by or on behalf of the insured, or any beneficiary hereunder, arising out of
this contract of insurance.




All other terms, conditions and limitations of this Policy shall remain unchanged.




HXE-000012-09-16                            Page 1 of 1
        Case 3:23-cv-10244-TKW-ZCB Document 1-5 Filed 01/17/23 Page 16 of 16



                                                         Underwritten by TDC Specialty Insurance Company
            TDC SPECIALTY                                                         1050 K Street, Suite 400
                                                                                    Washington, DC 20001
            UNDERWRITERS                                                  Servicing Address: 29 Mill Street
               The Doctors Company Group                                             Unionville, CT 06085


                              ENDORSEMENT NO. 4
    FOLLOW FORM OF SPECIFIC ENDORSEMENT OF SPECIFIC UNDERLYING INSURANCE
                                ENDORSEMENT

This Endorsement, effective at 12:01 a.m. on 04/15/2017, forms part of

      Policy Number:       HPX-00016-17-00
      Issued to:           Baptist Health Care Corporation
      Issued by:           TDC Specialty Insurance Company

In consideration of the premium charged, it is understood and agreed that this Policy will apply in
conformance with, and will follow the form of, the following endorsement(s) to the following
underlying insurance:



Underlying                 Endorsement      Underlying Insurance         Underlying Insurance
Endorsement Name:          Number:          Policy:                      Policy Number:
 Renewal Agreement         Endorsement      Endurance American           HLC10006856902
 Endorsement               No. 5 – Limit    Specialty Insurance
                           and Premium      Company
                           per TDC
                           Specialty Dec
                           Page




All other terms, conditions and limitations of this Policy shall remain unchanged.




HXE-000021-01-17                           Page 1 of 1
